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           EXHIBIT B
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                                                                                              Office of the Principal Legal Advisor
                                                                                              U.S. Department of Homeland Security
                                                                                              500 12th Street, SW; MS 5900
                                                                                              Washington, DC 20024




                                                              March 21, 2022

SENT VIA E-MAIL (3/21/2022)

Kristen E. Dennison, Esq.
Littleton, Park, Joyce, Ughetta, & Kelly, LLP
201 King of Prussia Rd, Suite 220
Radnor, PA 19087
kristen.dennison@littletonpark.com

Re:         Subpoena – Employment Documents for Investigations Special Agent, Keith Slatowski,
            Slatowski v. Sig Sauer, Inc. 21-cv-00729 (EDPA)

Dear Ms. Dennison:

        A copy of your Touhy request letter dated Feb 14, 2022 and accompanying subpoena,
dated January 10, 2022, to the U.S. Department of Homeland Security (DHS) was forwarded to
my attention. Your Touhy request seeks the production of documents pursuant to Rule 45 of the
Federal Rules of Civil Procedure and the Local Rules of the Eastern District of Pennsylvania for
use in the above Federal proceedings, to which the United States is not a party. The request
seeks the production of documents regarding eight categories 1 of information by January 31,
                                                                                   0F




2022. For the reasons that follow, your request for the production of documents is denied
pursuant to the DHS Touhy regulations. See 6 C.F.R. §§ 5.41-5.49. Accordingly, Immigration
and Customs Enforcement (ICE) does not intend to produce the requested documents in response
to the subpoena. In addition, even if the request for documents were not denied, ICE nonetheless
objects to the requested production of documents pursuant to Federal Rule of Civil Procedure
45(d)(2)(B), to the extent that Rule 45 applies.
                                                                   Touhy

        There are published procedural prerequisites for obtaining information, whether oral or
written, from DHS of which ICE is a component. The Supreme Court has held that a federal
agency is not required to comply with any request for testimony or documents that fails to
comport with the applicable agency regulations governing the production or disclosure of such
information. See United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951). DHS has
promulgated regulations that govern the release of testimony by DHS employees or documents
in a legal proceeding where the United States is not a party. These Touhy regulations can be
found at 6 C.F.R. §§ 5.41-5.49.        Compliance with the Touhy regulations is an absolute
condition precedent to obtaining testimony or other information from a DHS employee, as well
as documents. See U.S. v. Soriano-Jarquin, 492 F.3d 495 (4th Cir. 2007); Ho v. U.S., 374
F.Supp.2d 82 (D.D.C. 2005); Boeh v. Gates, et. al., 25 F.3d 761 (9th Cir. 1994); Saunders v.


1
    ICE is using the term “category” to pertain to the 8 document requests on pages 2 and 3 of the Touhy request.
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Great Western Sugar Co., 396 F.2d 794 (10th Cir. 1968); United States Steel Corp. v. Mattingly,
663 F.2d 68 (10th Cir. 1980).

        Section 5.43 of the DHS Touhy regulations requires that service of subpoenas, court
orders, and other demands or requests for official information be served on the DHS Office of
the General Counsel (OGC). DHS OGC has delegated the ability to receive service of and
respond to such requests to its components. In the event that the request for ICE information is
delivered directly to an employee, the employee is to immediately forward a copy of that
document to DHS OGC or its designee, ICE Office of the Principal Legal Advisor (OPLA).

        Further, DHS regulations bar all DHS employees, including former employees, from
inter alia providing responses to questions by attorneys in situations involving litigation
regarding any material contained in the files of the Department, any information relating to
material contained in the files of the Department, or any information acquired while the subject
of the request for information is or was employed by DHS, unless authorized to do so by the
DHS Office of General Counsel or its designees. See 6 C.F.R. § 5.44. Section 5.45 of the
regulations also requires that the party seeking information must “set forth in writing, and with as
much specificity as possible, the nature and relevance of the official information sought.”

        Upon receipt of a sufficiently detailed request, DHS or ICE will consider the following
factors: (1) whether compliance would be unduly burdensome or otherwise inappropriate; (2)
whether compliance is appropriate under the relevant substantive law concerning privilege or
disclosure of information; (3) the public interest; (4) the need to conserve the time of DHS
employees for the conduct of official business; (5) the need to avoid spending the time and
money of the United States for private purposes; (6) the need to maintain impartiality between
private litigants in cases where a substantial government interest is not implicated; (7) whether
compliance would have an adverse effect on performance by the DHS of its mission and duties;
and (8) the need to avoid involving the DHS in controversial issues not related to its mission.
See 6 C.F.R. § 5.48(a).

         In addition, ICE will not comply with a request when such compliance would violate a
statute, regulation, Executive Order, or agency policy. Likewise, ICE will not comply with a
request when such compliance would reveal agency deliberations, or potentially impede or
prejudice an on-going law enforcement investigation. See 6 C.F.R. § 5.48(b).

        ICE has reviewed your Touhy request and has determined that the request does not
currently meet the requirements of 6 C.F.R. § 5.45. Your Touhy request does not adequately
specify what information is being requested nor does it describe how each of the categories of
information is relevant to the present legal proceeding. Your request seeks information on issues
that do not appear to be relevant to the underlying litigation. For instance, your request seeks
internal agency information regarding procedures for agents, firearm and holster manuals and
procedures, among other information, as well as documents concerning any accreditation or
certification by any law enforcement accreditation body in category 8. It is unclear how internal
ICE policies are relevant to any claim or defense in the underlying suit. Even if an argument
could be made that firearm and holster manuals and procedures were relevant, it is unclear how
general standard operating procedures for agents and accreditation, or certification is relevant.
Category 6 seeks, among other things personnel and evaluation records pertaining to the
Plaintiff, without any explanation as to how that information is relevant to the suit. Additionally,
category 7 does not explain how the requested records “would directly impact liability.”

       Moreover, the information sought may be law enforcement sensitive and/or subject to an
Executive Privilege. For instance, much of your request seeks various communications, which
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may fall under the attorney-client or deliberative process privileges. Additionally, information
may be law enforcement sensitive. For instance, in categories 4, 5 and 8 you request internal
documents which may contain sensitive law enforcement information.

        Your request as currently written is also overly broad and unduly burdensome as it does
not specify a timeframe for the information you seek and also seeks communications without
regard to the type of communication or the employees making the communications, as well as
other documents without time limitations. In conducting ICE’s mission, it is vital to conserve
financial resources, as well as the time of DHS employees for the conduct of official business
and not for private litigation purposes. See 6 C.F.R. § 5.48(a)(4) and (5). The breadth of your
requests would impede the official business of the agency.

        The information you seek may also be available through the parties to the litigation
through the discovery process or may fall within the purview of other agencies or components
other than ICE. Category 8, which seeks accreditation or certification can be obtained through
the discovery process in the underlying suit. 2 Additionally, category 1 seeks communications
                                                            1F




between ICE and Plaintiff regarding the incident, as well as the Plaintiffs personnel and
evaluation records in category 6, which could be sought from the Plaintiff through the discovery
process. Also, to the extent that your requests call for legal conclusions and/or expert or opinion
testimony, this type of information is generally prohibited under 6 C.F.R. § 5.49.

        Additionally, assuming that your requests were modified to appropriately narrow and
identify the information sought, the breadth and nature of the requests raise a potential that they
seek information, the disclosure of which would violate the Privacy Act of 1974, 5. U.S.C. §
552a, or otherwise cause an unwarranted invasion of personal privacy. Thus, the records may not
be disclosed by the agency without the prior written consent of the individual to whom the
information applies, or pursuant to an order of a court of competent jurisdiction in compliance
with the mandates of the Privacy Act and signed by a Judge. For future reference, enclosed
please find ICE’s standard Privacy Waiver, Form 60-001, which authorizes ICE to disclose
records that would otherwise be protected by the Privacy Act.

        While a HIPPA release was previously submitted with the Touhy request and subpoena,
the release is insufficient under the Privacy Act to produce the requested records pertaining to
the Plaintiff. Additionally, one of the described reasons for the need of the requested records is to
“identify witnesses,” in which further necessitates either a valid privacy waiver or appropriate
court order.

        If you wish to comply with the DHS Touhy regulations, we require a more detailed
explanation of the documents you are seeking, and their relevance to the legal proceeding.
Should you wish to submit revised requests and wish to discuss how such requests might satisfy
the requirements of the Touhy regulations, ICE is available to do so. Upon the receipt of
requests that comply with the requirements of 6 C.F.R. § 5.48, ICE will then consider the eight
factors outlined in 6 C.F.R. § 5.48(a) to determine whether ICE will comply with the requests.
ICE reserves the right to object to any future revised subpoenas, pursuant to the factors outlined
in 6 C.F.R. § 5.48(a). 3     2F




2
  Your request for certification is also vague as it is unclear whether you are requesting information pertaining to the Plaintiff or
the agency.
3
  Please note that while specificity and relevance are the first step in the Touhy analysis prior to an evaluation of the request
under the eight factors outlined in 6 C.F.R. § 5.48(a), ICE has provided general additional information regarding potential issues
with your request so that an appropriate request can be provided to ICE. This will assist in efficiently providing you with any
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                                                                  Rule 45

         This letter also serves as notice pursuant to Federal Rules of Civil Procedure Rule
45(d)(2)(B) that ICE is objecting to the requirements of the subpoena for the production of
documents. As stated above, your request does not meet the requirements of 6 C.F.R. § 5.48. The
request does not adequately specify what information is being requested. The request also fails to
provide a sufficiently detailed explanation as to how the requested ICE information relates to or is
relevant to this matter and would support any claim or defense in the subject litigation. Your request
is also overly broad and unduly burdensome and may also be privileged. The information sought is
also available to the parties through the discovery process. Also, to the extent that your requests call
for legal conclusions and/or expert or opinion information, this type of information is generally
prohibited under 6 C.F.R. § 5.49. In addition, ICE asserts the following objections. 4                       3F




          a. Relevance

        With regard to the eight categories outlined in your request, you have not satisfied your
burden of establishing that the requested information is relevant to your client’s case. See Fed.
R. Civ. P. 26(b)(1), 6 C.F.R. § 5.45(a) (request must set forth, “with as much specificity as
possible, the nature and relevance of the official information sought”). 5                      4F




        Category 6 states that the information requested is relevant to “Mr. Slatowski’s credentials
and experience handling firearms, including the Subject Pistol that he claims injured him.” However,
your request does not describe how Mr. Slatowski’s personnel and disciplinary file; and any formal
or informal job evaluations is relevant to his experience with firearms.

         Additionally, category 7 states that the requested information “would directly impact
liability.” However, your request does not describe how all documents and records concerning the
ownership, maintenance, assignment, use, and issuance history of the Subject Pistol would impact
liability. Category 8 asks for any DHS standard operating procedures for its investigation’s special
agents; firearm manuals and procedures; holster Documents including instruction or guidelines for
holster use; and Documents concerning any accreditation or certification by any law enforcement
accreditation body. Your request does not describe how internal ICE policies relate to a claim or
defense in the suit.

           b. Requests are overly broad, unduly burdensome and/or vague

        The information sought in your Touhy request, as currently written, contains categories of
information that are overly broad and unduly burdensome in violation of Rules 26 and 45 of the
Federal Rules of Civil Procedure. See Fed. R. Civ. P. 26(c), 45(d)(1), (d)(3). Your request is also
unduly burdensome under the applicable agency Touhy regulations. See 6 C.F.R. § 5.48(a)(1).
Additionally, your request seeks an “overly broad” range of documents and information for a civil
dispute in which the Executive is not a party. See Cheney v. U.S. Dist. Court for Dist. Of Columbia,
542 U.S. 367, 386 (2004). As the Supreme Court has noted, “special considerations control” when

information to which you may be entitled under the Touhy regulations. Additional specificity is also outlined below under the
Rule 45 section of the response.
4
  Due to the fact that the subpoena request is not sufficiently detailed, ICE reserves the right to assert additional objections or
modify existing objections in the future once a sufficiently detailed Touhy request is received.
5 Receiving a detailed description of the information sought in a Touhy request and a specific explanation as to its relevance, as

required by the regulations, enables an agency, among other things, to determine whether providing the requested information
would violate any statutes, regulations or privileges.
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discovery such as that involved in your subpoena is sought from the Executive. Id. at 385. The
“paramount necessity of protecting the Executive Branch from vexatious litigation that might distract
from the energetic performance of its constitutional duties,” as well as the unique privileges that may
be implicated in this context, require a subpoenaing party, at the very least, to meet “exacting
standards” of relevancy, admissibility, and specificity.” Id. at 382, 386-87.

        Under Rule 45(d)(1) of the Federal Rules of Civil Procedure, a party issuing a subpoena must
avoid imposing undue burden or expense on the respondent. As currently written, however, the
subpoenas in this matter violate that obligation. Your requests are also objectionably vague in
several respects. See Fed. R. Civ. P 45(a)(1)(A)(iii)(subpoena must command production of
“designated” documents).

        Category 1 does not adequately describe with sufficient specificity the scope of records that
you are requesting. 6 Your request also does not define the types of communications for which you
                       5F




are seeking documents. Your request also seeks all communications without regard for the position
of the employee making the communications. This would result in the need for ICE to conduct an
overly burdensome search. Thus, category 1 of your request is overly broad, unduly burdensome and
vague.

        Category 2 does not adequately describe with sufficient specificity the scope of records that
you are requesting. 7 Your request does not provide a timeframe for which you wish ICE to search
                       6F




for responsive records. This would result in potentially years’ worth of records. Additionally, you
do not specify the types of documents and communications that you are requesting. Your request
seeks all communications without regard for the position of the ICE personnel making the
communications. Thus, your request for all communications in category 2, without any specification,
detail or description of the information that you seek is overly broad, unduly burdensome and vague.

        Category 3 does not adequately describe with sufficient specificity the scope of records that
you are requesting. 8 Your request asks for all communications without regard for the ICE personnel
                       7F




making the communications or to whom the communications were made. Thus, category 3 of your
request without any specification, detail or description of the information that you seek is overly
broad, unduly burdensome and vague.

        Category 4 does not adequately describe with sufficient specificity the scope of records that
you are requesting. 9 Your request does not provide a timeframe for which you wish ICE to search
                       8F




for responsive records. Additionally, you do not specify the types of documents and witness
statements that you are requesting. Your request seeks all witness statements without regard for the
position of the ICE personnel making the statement. Thus, category 4 of your request without any
specification, detail or description of the information that you seek is overly broad, unduly
burdensome and vague.




6 Category 1 seeks all communications between DHS and the plaintiff, Keith Slatowski, concerning “the Incident, including, but

not limited to, how the Incident happened.”
7 Category 2 seeks all communications between DHS and the ICE “concerning the Incident, including, but not limited to, how the

Incident happened.”
8 Category 3 seeks all non-privileged communications between DHS and “any [p]erson concerning the Incident, including, but

not limited to, how the Incident happened.”
9 Category 4 seeks all documents concerning DHS’s investigation of “the Incident, including, but not limited to, any incident

reports, accident reports, or witness statements.”
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        Category 5 does not adequately describe with sufficient specificity the scope of records that
you are requesting. 10 Your request does not specify a timeframe for the documents that you are
                        9F




requesting, and presumably means that your request seeks all documents for the entire timeframe that
the “Subject Pistol” has been in possession of ICE. Additionally, your request as currently written is
unduly burdensome as a response to this request could encompass several years of records and
several employees. Thus, category 5 of your request is overly broad, unduly burdensome and vague.

        Category 6 does not adequately describe with sufficient specificity the scope of records that
you are requesting. 11 Your request does not specify a timeframe for the documents that you are
                        10F




requesting. Additionally, your request is overly broad and unduly burdensome as it asks for all of
“Keith Slatowski’s practice range records; training and qualification records; his personnel and
disciplinary file; and any formal or informal job evaluations.” Thus, category 6 of your request is
overly broad, unduly burdensome and vague.

        Category 7 does not adequately describe with sufficient specificity the scope of records that
you are requesting. 12 Your request does not specify a timeframe for the documents that you are
                        11F




requesting, and presumably means that your request seeks all documents ever created regarding the
history of the subject pistol. Thus, category 7 of your request is overly broad, unduly burdensome
and vague.

         Category 8 does not adequately describe with sufficient specificity the scope of records that
you are requesting. 13 Your request does not specify a timeframe for the documents that you are
                        12F




requesting, and presumably means that your request seeks all documents since the existence of the
agency. Additionally, it is unclear from the request whether you are seeking accreditation and
certification history pertaining to the Plaintiff or the agency. Thus, category 8 is vague, overly broad
and unduly burdensome.

           c. Information likely in the possession of the Parties

        Your request seeks information that one would reasonably expect to be in the possession of a
party to this matter. See Fed. R. Civ. P. 45(a)(1)(A)(iii). For instance, your request seeks any and all
of Keith Slatowski’s practice range records; training and qualification records; his personnel file; and
any formal or informal job evaluations. Additionally, your request seeks communications between
ICE and the Plaintiff regarding the incident, which would be in the possession of the Plaintiff. Thus,
such materials and information should be in the possession of a party and should not be sought from
a non-party government entity pursuant to a subpoena. Given that the documents that are
referenced in your request should be in the possession of party, this is another aspect in which
your subpoena in this matter is also unduly burdensome. See Fed. R. Civ. P. 26(b)(2)(C) (court
must limit discovery if information sought “can be obtained from some other source that is more
convenient, less burdensome, or less expensive”).



10 Category 5 seeks all photographs, motion pictures, video recordings, body-camera footage, or other photographic reproduction

showing any of the following: Keith Slatowski’s Subject Pistol that he alleges inadvertently discharged; Keith Slatowski on
September 21, 2020; and the Incident that occurred on September 21, 2020.
11 Category 6 seeks any and all of “Keith Slatowski’s practice range records; training and qualification records; his personnel and

disciplinary file; and any formal or informal job evaluations.”
12 Category 7 seeks “[a]ll Documents and records concerning the ownership, maintenance, assignment, use, and issuance history

of the Subject Pistol.”
13 Category 8 seeks “[a]ny DHS standard operating procedures for its investigations special agents; firearm manuals and

procedures; holster Documents including instruction or guidelines for holster use; and Documents concerning any accreditation
or certification by any law enforcement accreditation body.”
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           d. Attorney-Client Privilege, Deliberative Process Privilege and/or Law Enforcement
              Privilege 14  13F




        Categories 1-8 seek information that may be covered by the attorney-client privilege,
deliberative process privilege and law enforcement privilege, and thus not subject to disclosure. 15                       14F




The attorney-client privilege protects from disclosure of client communications with a lawyer
regarding legal advice. The deliberative process privilege protects from disclosure those documents
and information that contain the recommendations, opinions, and conclusions of agency employees.
The law enforcement privilege protects from disclosure law enforcement techniques, or procedures,
the disclosure of which could reasonably be expected to risk circumvention of the law, as well as
to protect law enforcement personnel.

         Regarding categories 1 and 4, any internal communications and documents of the type you
are requesting may be covered by the attorney-client privilege, to the extent that they contain
communications between program offices and the Office of Principal Legal Advisor (OPLA).
Additionally, to the extent that such communications occurred with the Department of Justice,
the communications would also be covered by the attorney-client privilege. In addition, any
communications or documents responsive to this request may also be covered by the deliberative
process privilege to the extent that these documents contain recommendations, opinions, and/or
conclusions of agency employees. Additionally, the information requested in categories 1, 2 and 4
may also contain sensitive law enforcement information, especially as it pertains to documents
related to the investigation of the incident.

        As it pertains to category 5 to any internal communications regarding the requested records
or accompanying these records may be covered by the attorney-client privilege to the extent that they
contain communications between program offices and the OPLA. In addition, any communications
or documents responsive to this request may also be covered by the deliberative process privilege to
the extent that these documents contain recommendations, opinions, and/or conclusions of agency
employees. These records could be contained in or associated with other privileged materials. For
example, some of these records could be contained in an internal ICE report that has these photos as
exhibits for an internal decision-making process. Additionally, depending on the specific depictions
in any photographs and videos, that information may also contain sensitive law enforcement
information.

        As it pertains to category 6, the requested information may be covered by the attorney-client
privilege and/or the deliberative process privilege. These records could be privileged, especially as it
pertains to the disciplinary file requested to the extent that the files requested contain
communications between program offices and the OPLA. In addition, any documents responsive to
this request may also be covered by the deliberative process privilege to the extent that these
documents contain recommendations, opinions, and/or conclusions of agency employees. To the
extent that the files requested contain internal ICE techniques and procedures, the information may
also be law enforcement sensitive.

        As it pertains to categories 7 and 8, the information requested may contain information that is
law enforcement sensitive, especially as it pertains to internal ICE instructions, procedures and
guidelines. Category 7 may also contain information protected by the attorney-client privilege to the
extent that the documents contain communications between program offices and the OPLA. In

14 To the extent that any of the documents or communications that are the subject of this request contain information prepared in

anticipation of litigation,, those documents would also be protected by the attorney work-product privilege.
15 Please note that due to the lack of specificity in the requests, ICE is asserting the subject privileges based on the potential

conflicts that may exist, after a consideration of the types of information that is being requested.
       Case 2:21-cv-00729-RBS Document 25-1 Filed 04/28/22 Page 88 of 102

Kristen E. Dennison, Esq.
Page 8


addition, any communications or documents responsive to this request may also be covered by the
deliberative process privilege to the extent that these documents contain recommendations, opinions,
and/or conclusions of agency employees.

         e. Additional objections and privileges

        The foregoing objections are not exclusive, and ICE reserves the right to assert further
objections in response to the subpoenas as appropriate. Additionally, ICE reserves any and all
privileges and other grounds for non-disclosure that may apply to any individual document, portion
of a document, or information requested, including additional privileges and protections under the
attorney-client privilege, work product doctrine, deliberative process privilege and law enforcement
privilege. The breadth and nature of your subpoenas raise the likelihood that any responsive
documents, to the extent that responsive materials exist, would include privileged or otherwise
protected information.

        Additionally, assuming that your requests were modified to appropriately narrow and identify
the information sought, the breadth and nature of the requests raise a potential that they seek
information, the disclosure of which would violate the Privacy Act of 1974, 5. U.S.C. § 552a, or
otherwise cause an unwarranted invasion of personal privacy.

        In the event that you wish to revise your request in response to this denial, it may be efficient
and productive to confer, including about the requirements of DHS’s Touhy regulations, before any
formal submission of a revised request. If you require additional information on this matter, I can be
reached by email at Alexandra.C.Ellis@ice.dhs.gov.


                                                Sincerely,




                                                Alexandra Ellis
                                                Associate Legal Advisor
                                                Government Information Law Division
                                                Office of the Principal Legal Advisor
                                                U.S. Immigration and Customs Enforcement


Attachment: Privacy Waiver ICE form 60-001

cc: Colin Cherico, Assistant United States Attorney
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           EXHIBIT C
            Case 2:21-cv-00729-RBS Document 25-1 Filed 04/28/22 Page 90 of 102


                                     DEPARTMENT OF HOMELAND SECURITY
             AUTHORIZATION TO RELEASE INFORMATION TO ANOTHER PERSON

 Please complete this form to authorize the Department of Homeland Security (DHS) or its designated DHS Component
 element to disclose your personal information to another person. You are asked to provide your information only to
 facilitate the identification and processing of your request. Without your information DHS or its designated DHS
 Component element may be unable to process your request.

 SECTION I. Personal Information

 Name
 KEITH SLATOWSKI
 Address
 118 WILSON RD.
 City                                                        State                             Zip Code
 KING OF PRUSSIA                                             PA                                19406
 Country                                                     Telephone Number(s)
 U.S.                                                        +1 (484) 680-4337
 Date of Birth                   Place of Birth (city, state, country)
 08/05/1972                         Philadelphia Pa USA
 SECTION II. Representative Information

 Name
     Robert W. Zimmerman, Esq. Saltz Mongeluzzi & Bendesky P.C.

 Address
     1650 Market Street, 52nd Floor

 City                                                        State                             Zip Code
        Philadelphia                                          PA                                             19103

 Country                                                     Telephone Number(s)
        USA                                                      215-575-2886


Pursuant to the Privacy Act of 1974 (5 U.S.C. §552a(b)), I authorize DHS and/or its DHS Component elements to release
any and all information relating to my redress request to my representative .

Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct, and that I am the person named above in Section I. I understand that falsification of this
statement is punishable under the provisions of 18 U.S.C. §1001 by a fine of not more than $10,000 or by imprisonment of
not more than five years, or both.



 Signature                                                                                         Date    03/18/2022

PRIVACY ACT STATEMENT:
AUTHORITY: Title IV of the Intelligence Reform and Terrorism Prevention Act of 2004 authorizes DHS to take security
measures to protect travel, and under Subtitle B, Section 4012(1)(G), the Act directs DHS to provide appeal and correction
opportunities for travelers whose information may be incorrect.
PRINCIPAL PURPOSE(S): DHS will use this information in order to assist you with seeking redress in connection with
travel.
ROUTINE USE(S): DHS will use and disclose this information to appropriate governmental agencies to verify your identity,
distinguish your identity from that of another individual, such as someone included on a watch list, and/or address your
redress request. Additionally, limited information may be shared with non-governmental entities, such as air carriers, where
necessary for the sole purpose of carrying out your redress request.
DISCLOSURE: Furnishing this information is voluntary; however DHS may not be able to process your redress request
without the information requested.



DHS Form 590 (8/11)                                                                                             Page 1 of 1
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           EXHIBIT D
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DELAWARE COUNTY OFFICE                            ONE LIBERTY PLACE, 52ND FLOOR                 NEW JERSEY OFFICE
 20 WEST THIRD STREET                                  1650 MARKET STREET                      8000 SAGEMORE DRIVE
    P.O. BOX 1670                                    PHILADELPHIA, PA 19103                         SUITE 8303
   MEDIA, PA 19063                                     VOICE 215.496.8282                       MARLTON, NJ 08053
  VOICE 610.627.9777                                     FAX 215.496.0999                       VOICE 856.751.8383
   FAX 610.627.9787                                                                              FAX 856.751.0868


                                                                                             MONTGOMERY COUNTY OFFICE
                                                                                                 120 GIBRALTAR RD
                                                                                                     SUITE 218
   DANIEL L. CEISLER
 DIRECT DIAL 215-575-2965                                                                       HORSHAM, PA 19044
   DCEISLER@SMBB.COM                                                                            VOICE 215.496.8282
                                                                                                 FAX 215.496.4444


                                                 February 15, 2022


  By FedEx - Overnight

  Office of Principal Legal Advisor
  Immigration and Customs Enforcement
  500 12th Street SW, Mail Stop 5902
  Washington, D.C. 20536-5902


               Re:          Touhy Request Pursuant To 6 C.F.R. §§ 5.41-5.49
                            Keith and Bianca Slatowski v. Sig Sauer, Inc., Civil Action No. 2:21-cv-
                            00729


  Dear Sir or Ma’am:

          My office represents Immigration and Customs Enforcement Officer Keith Slatowski in a
  civil lawsuit against firearms manufacturer Sig Sauer, Inc. This lawsuit relates to injuries Mr.
  Slatowski suffered during quarterly firearms training on September 21, 2020. Mr. Slatowski was
  using a Sig Sauer P320 pistol as part of a drill, when the pistol discharged in his holster without
  Mr. Slatowski touching the trigger. Mr. Slatowski was struck in the thigh by the bullet. This
  malfunction has been part of a wave of similar incidents across the country involving the P320. A
  copy of the Complaint in this matter is enclosed for your reference.

         It is our understanding that ICE, most likely the Office of Professional Responsibility
  and/or the Office of Firearms and Tactical Programs, has produced a document, report, and/or
  White Paper detailing incidents of unintended discharges of the Sig Sauer P320 across the agency.
  Upon our information and belief, the document, report and/or White Paper is entitled “ICE-Wide
  Weapons Malfunction and Misfires.” This document will provide highly probative evidence of the
  defect in the P320. Our office requests the Department of Homeland Security produce the
  document, report and/or White Paper, drafts thereof, and presentations related thereto.
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April 28, 2022



        Our office further requests any pre-acquisition testing reports conducted on the Sig Sauer
P320. Such reports would also be highly probative of evidence of manufacturing and/or design
defects in the P320.

       In the event there is personal identifying information in the request documents, such
information may be redacted. The documents requests will have no impact on national security.

       Please contact me at your earliest convenience upon reviewing this letter. I can be reached
at 215-575-2965, or via email at dceisler@smbb.com. Thank you very much for your
consideration. I look forward to hearing from you.



                                             Very Respectfully,

                                             SALTZ MONGELUZZI & BENDESKY P.C.


                                             DANIEL L. CEISLER, ESQ.

DLC
Enclosures

CC:
Immigration and Customs Enforcement
Office of Principal Legal Advisor
500 12th Street SW
Mailstop 5900
Washington, DC 20536
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           EXHIBIT E
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                                                                 Office of the Principal Legal Advisor

                                                                 U.S. Department of Homeland Security
                                                                 31 Hopkins Plaza, Room 1600
                                                                 Baltimore, MD 21201




                                                                                   March 3, 2022


Via e-mail
Daniel L. Ceisler, Esq.
Saltz Mongeluzzi & Bendesky, P.C.
1650 Market Street
Philadelphia, PA 19103
dceisler@smbb.com

Re: Touhy Request in Slatowski v. Sig Sauer, Inc., No. 21-729 (E.D. Pa. filed Feb. 17, 2021)

Dear Mr. Ceisler,

        A copy of your letter dated February 15, 2022, to the U.S. Immigration and Customs
Enforcement (ICE) has been forwarded to my attention. Your letter requests ICE records for use
in a Federal proceeding to which the United States is not a party. Specifically, you’ve requested
a “document, report and/or white paper entitled “ICE-Wide Weapons Malfunction and Misfires”
and “pre-acquisition testing reports conducted on the Sig Sauer P320”.
        The purpose of this letter is to inform you of the procedural prerequisites for obtaining
information, whether oral or written, from the Department of Homeland Security (DHS) of
which ICE is a component. The DHS has enacted regulations that govern the release of
testimony by DHS employees or documents in a legal proceeding where the United States is not
a party. These regulations are commonly referred to as Touhy regulations and can be found at 6
C.F.R. §§ 5.41-5.49. See generally United States ex. rel. Touhy v. Ragen, 340 U.S. 462 (1951).
The Touhy regulations are an absolute condition precedent to obtaining testimony or other
information from a DHS employee, and the regulations must be complied with before the DHS
or ICE may respond to any such request. See U.S. v. Soriano-Jarquin, 492 F.3d 495 (4th Cir.
2007); Ho v. U.S., 374 F.Supp.2d 82 (D.D.C. 2005).

        Section 5.43 of the DHS Touhy regulations, requires that service of subpoenas, court
orders, and other demands or requests for official information be served on the DHS Office of
the General Counsel (OGC). DHS OGC has delegated this responsibility to its components. In
the event that the request for ICE information is delivered directly to an employee, the employee
is to immediately forward a copy of that document to the DHS OGC or its designee, ICE Office
of the Principal Legal Advisor.

        Further, DHS regulations bar all DHS employees, including former employees, from
inter alia providing responses to questions by attorneys in situations involving litigation
regarding any material contained in the files of the Department, any information relating to
material contained in the files of the Department, or any information acquired while the subject
of the request for information is or was employed by DHS, unless authorized to do so by the


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      Case 2:21-cv-00729-RBS Document 25-1 Filed 04/28/22 Page 96 of 102



DHS Office of General Counsel or its designees. See 6 C.F.R. § 5.44. Section 5.45 of the
regulations also requires that the party seeking information must “set forth in writing, and with as
much specificity as possible, the nature and relevance of the official information sought.”

        Upon receipt of a sufficiently detailed request, DHS or ICE will consider the following
factors: (1) whether compliance would be unduly burdensome or otherwise inappropriate; (2)
whether compliance is appropriate under the relevant substantive law concerning privilege or
disclosure of information; (3) the public interest; (4) the need to conserve the time of DHS
employees for the conduct of official business; (5) the need to avoid spending the time and
money of the United States for private purposes; (6) the need to maintain impartiality between
private litigants in cases where a substantial government interest is not implicated; (7) whether
compliance would have an adverse effect on performance by the DHS of its mission and duties;
and (8) the need to avoid involving the DHS in controversial issues not related to its mission.
See 6 C.F.R. § 5.48(a).

         In addition, ICE will not comply with a request when such compliance would violate a
statute, regulation, Executive Order, or agency policy. Likewise, the ICE will not comply with a
request when such compliance would reveal agency deliberations, or potentially impede or
prejudice an on-going law enforcement investigation. See 6 C.F.R. § 5.48(b).

        Your letter dated February 15, 2022, does not adequately describe how the information
sought is relevant to the present legal proceeding. Further, it appears that information you have
requested may be protected under the Privacy Act, 5 U.S.C. § 552a. In which case, the records
may not be disclosed by the agency without the prior written consent of the individual to whom
the information applies, or pursuant to the order of a court of competent jurisdiction and signed
by a Judge. For your convenience, I’ve attached a copy of ICE Form 60-001, which is a privacy
waiver authorizing information disclosure to a third party.

       If you wish to comply with the DHS’s Touhy regulations, please offer a more detailed
explanation of how the requested information is relevant to the legal proceeding and (if relevant)
the completed privacy waiver form(s).

       Thank you for your anticipated cooperation in complying with applicable Federal law. If
you require additional information on this matter, I can be reached by e-mail at:
Alexandra.C.Ellis@ice.dhs.gov.



                                              Sincerely,




                                                  Alexandra Ellis
                                                  Associate Legal Advisor
                                                  Government Information Law Division
                                                  Immigration Customs and Enforcement




Attch: ICE Form 60-001 Privacy Waiver

                                                                   www.ice.gov
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            EXHIBIT F
            Case 2:21-cv-00729-RBS Document 25-1 Filed 04/28/22 Page 98 of 102




DELAWARE COUNTY OFFICE                            ONE LIBERTY PLACE, 52ND FLOOR                 NEW JERSEY OFFICE
 20 WEST THIRD STREET                                  1650 MARKET STREET                      8000 SAGEMORE DRIVE
    P.O. BOX 1670                                    PHILADELPHIA, PA 19103                         SUITE 8303
   MEDIA, PA 19063                                     VOICE 215.496.8282                       MARLTON, NJ 08053
  VOICE 610.627.9777                                     FAX 215.496.0999                       VOICE 856.751.8383
   FAX 610.627.9787                                                                              FAX 856.751.0868


                                                                                             MONTGOMERY COUNTY OFFICE
                                                                                                 120 GIBRALTAR RD
                                                                                                     SUITE 218
   DANIEL L. CEISLER
 DIRECT DIAL 215-575-2965                                                                       HORSHAM, PA 19044
   DCEISLER@SMBB.COM                                                                            VOICE 215.496.8282
                                                                                                 FAX 215.496.4444


                                                   March 8, 2022


  By Email: Alexandra.C.Ellis@ice.dhs.gov

  Alexandra Ellis, Esq.
  Associate Legal Advisor
  Government Information Law Division
  Office of the Principal Legal Advisor
  Immigration and Customs Enforcement
  500 12th Street SW
  Mailstop 5900
  Washington, DC 20536


               Re:          Touhy Request Pursuant To 6 C.F.R. §§ 5.41-5.49
                            Keith and Bianca Slatowski v. Sig Sauer, Inc., Civil Action No. 2:21-cv-
                            00729


  Dear Attorney Ellis:

         Please allow this letter to serve as a supplement to my February 15, 2022 letter and as a
  response to your March 3, 2022 letter.

          My office submitted a request pursuant to 6 C.F.R. §§ 5.41-5.49 seeking information
  related to unintended discharges within ICE involving the Sig Sauer P320. Specifically, our request
  seeks a document, report, and/or White Paper detailing incidents of unintended discharges of the
  Sig Sauer P320 across the agency. Upon our information and belief, the document, report and/or
  White Paper is entitled “ICE-Wide Weapons Malfunction and Misfires.” In the event a document
  matching this description exists, but does not have this precise title, we wish for ICE to produce
  the document. It is our belief that this document was most likely created by the Office of
  Professional Responsibility and/or the Office of Firearms and Tactical Programs.
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Page 2
March 8, 2022



        Your letter dated March 3, 2022 stated that our request did not adequately describe how
the information we sought was relevant to our ongoing legal proceeding. By way of additional
detail, my office represents ICE Agent Keith Slatowski in a products liability claim against Sig
Sauer. Agent Slatowski was seriously injured when his defective agency-issued P320 discharged
while inside his holster during a training exercise. Agent Slatowski’s incident was one of dozens
of incidents across the country where law enforcement officer was shot by a Sig Sauer P320 that
they alleged discharged without the trigger being pulled.

       Evidence of other similar incidents is highly probative that the Sig Sauer P320 suffers from
a design and/or manufacturing defect that can cause it to discharge without a trigger pull. Under
Pennsylvania law, evidence of other similar incidents involving a particular product may be
admissible in Court to prove that the product is defective. To the extent that ICE is aware of
additional incidents, including those that resulted in no injuries, that information is very relevant
to Agent Slatowski’s action.

        Should ICE identify this document and find that it contains the personal information of the
agents involved, such personal information may be redacted.

       Additionally, our request seeks any pre-acquisition testing reports conducted on the Sig
Sauer P320. Pre-acquisition testing reports may have identified flaws or issues with the Sig Sauer
P320 that may not have been resolved in firearms which were ultimately provided to end-users
like Agent Slatowski. Such reports would also be highly probative of evidence of manufacturing
and/or design defects in the P320.

       Thank you very much for your consideration. I look forward to hearing from you.



                                              Very Respectfully,

                                              SALTZ MONGELUZZI & BENDESKY P.C.


                                              DANIEL L. CEISLER, ESQ.
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                                                                   Office of the Principal Legal Advisor

                                                                   U.S. Department of Homeland Security
                                                                   31 Hopkins Plaza, Room 1600
                                                                   Baltimore, MD 21201




                                                                                    March 28, 2022


Via e-mail
Daniel L. Ceisler, Esq.
Saltz Mongeluzzi & Bendesky, P.C.
1650 Market Street
Philadelphia, PA 19103
dceisler@smbb.com

Re: Touhy Request in Slatowski v. Sig Sauer, Inc., No. 21-729 (E.D. Pa. filed Feb. 17, 2021)

Dear Mr. Ceisler,

        A copy of your Touhy request dated February 15, 2022, to the U.S. Immigration and
Customs Enforcement (ICE) was previously forwarded to my attention. Your request sought a
document, report and/or white paper entitled “ICE-Wide Weapons Malfunction and Misfires”
(hereinafter referred to as “misfire report”) and “pre-acquisition testing reports conducted on the
Sig Sauer P320” that you claim would be relevant to a product liability litigation, to which ICE is
not a party. On March 3, 2022, ICE responded via e-mail denying your Touhy request because
you neglected to articulate with specificity the relevance of the requested information to your
client’s case. On March 8, 2022, you submitted a supplemental Touhy request indicating
evidence of similar misfire incidents and pre-acquisition testing reports can be highly probative
of a P320 design or manufacture defect and under Pennsylvania law, evidence of similar
incidents or design flaws which were unresolved may be admissible in Court to prove that the
product is defective.
        When evaluating a Touhy request, ICE considers the following factors: (1) whether
compliance would be unduly burdensome or otherwise inappropriate; (2) whether compliance is
appropriate under the relevant substantive law concerning privilege or disclosure of information;
(3) the public interest; (4) the need to conserve the time of DHS employees for the conduct of
official business; (5) the need to avoid spending the time and money of the United States for
private purposes; (6) the need to maintain impartiality between private litigants in cases where a
substantial government interest is not implicated; (7) whether compliance would have an adverse
effect on performance by the DHS of its mission and duties; and (8) the need to avoid involving
the DHS in controversial issues not related to its mission. See 6 C.F.R. § 5.48(a).

        To the extent the misfire report exists, ICE declines to comply with your request pursuant
to 6 C.F.R. § 5.48(a) for the reasons that follow. First, the subject litigation is between two
private parties and there is no express public interest which warrants ICE’s involvement in the
matter. Second, ICE intends to maintain impartiality between the private litigants due to ICE’s
apparent conflict of interest. ICE has a formal relationship with each of the parties in the subject
private litigation; DO Keith Slatowski is an ICE employee and Sig Sauer has a contractual


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relationship with ICE. Third, ICE declines to become involved in a controversial private matter
which is unrelated to its mission of enforcing immigration and customs law to protect the
American people and the United States. Finally, the requested misfire report, which allegedly
summarizes misfires that occurred in ICE nationwide, is not pertinent to the subject litigation
because the product liability lawsuit is fact specific to DO Keith Slatowski’s alleged misfire
incident.

        To the extent that Sig Sauer P320 pre-acquisition testing reports exist, ICE declines to
comply pursuant to 6. C.F.R. § 5.48(a) for the reasons explained in the paragraph above.
Additionally, any such P320 pre-acquisition testing reports would presumably be in possession
of the party Defendant, SIG SAUER, Inc., and such records would be available through the
routine discovery process.

        The foregoing objections are not exclusive, and ICE reserves the right to assert further
objections in response to the requests as appropriate. Additionally, ICE reserves any and all
privileges and other grounds for non-disclosure that may apply to any individual document,
portion of a document, or information requested, including additional privileges and protections
under the attorney-client privilege, work product doctrine, deliberative process privilege,
proprietary privilege and law enforcement privilege.

      If you require additional information on this matter, I can be reached by e-mail at:
Alexandra.C.Ellis@ice.dhs.gov.



                                                Sincerely,




                                                 Alexandra Ellis
                                                 Associate Legal Advisor
                                                 Government Information Law Division
                                                 Immigration Customs and Enforcement




Cc: Colin Cherico, Assistant United States Attorney




                                                                  www.ice.gov
